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                                                                               FILED: 8/2/12
                                                                           U.S. DISTRICT COURT
                                                                         EASTERN DISTRICT COURT
                                                                         DAVID J. MALAND, CLERK




                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
VS.                                             §    CASE NO. 9:12-CR-15(6)
                                                §
                                                §
JOSE DEL ROSARIO ALVAREZ                        §

         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

       On August 2, 2012, this cause came before the undersigned United States Magistrate

Judge for entry of a guilty plea by the defendant, Jose Del Rosario Alvarez, a.k.a Compadre, on

Count Two of the charging Indictment filed in this cause. Count Two of the Indictment

charges the defendant with conspiracy to commit money laundering in violation of 18 U.S.C.

§ 1956(h). Specifically, Count Two charges that from in on or about August 2005, the exact date

being unknown to the Grand Jury, and continuously thereafter up to and including on or about

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May 24, 2011, in the Eastern District of Texas and elsewhere, Jose Del Rosario Alvarez, a.k.a.

Compadre, and other co-defendants listed in Count Two of the Indictment, did knowingly,

willfully, and unlawfully combine, conspire, confederate, and agree together and with each

other, and others known and unknown to the Grand Jury, to commit certain offenses against the

United States, to-wit: conspiracy to possess with intent to distribute a controlled substance, to

wit: cocaine, as described in Count One of the Indictment; in violation of 18 U.S.C. §§

1956(a)(1)(A)(I), 1956(a)(1)(B)(I); 1956(a)(2)(A); 1956(a)(2)(B)(I), all in violation of 18 U.S.C.

§ 1956(h). Additional details about the charged crime and the underlying manner and means are

further described in the Indictment.

       Defendant, Jose Del Rosario Alvarez, entered a plea of guilty to Count Two of the

Indictment into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.      That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal.

       c.      That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

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result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

       d.       That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that his conduct falls within the definition of the crimes charged under 18 U.S.C.

§ 1956(h).

                                  STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual

resume.      See Factual Resume      In support, the Government and Defendant stipulated to

uncontroverted facts stated in the factual resume. The Government and Defendant agreed that if

the case proceeded to trial, the Government would prove beyond a reasonable doubt, through the

sworn testimony of witnesses, that Alvarez conspired with others to engage in monetary

transactions in property derived from unlawful activity. The Court incorporates the proffer of

evidence described in detail in the factual resume in support of the guilty plea.

       Defendant, Jose Del Rosario Alvarez, agreed with and stipulated to the evidence presented

in the factual basis.    Counsel for Defendant and the Government attested to Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with the

evidence presented by the Government and personally testified that he was entering his guilty

plea knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count Two of the charging Indictment on file in this criminal

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proceeding. The Court also recommends that the District Court accept the plea agreement.1

Accordingly, it is further recommended that, Defendant, Jose Del Rosario Alvarez, be finally

adjudged as guilty of the charged offense under Title 18, United States Code, Section 1956(h).

         Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court

may defer its decision to accept or reject the plea agreement until there has been an opportunity to

consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

agreement, the Court will advise Defendant in open court that it is not bound by the plea

agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is rejected

and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

before the District Court before imposition of sentence.


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           “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).

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                                         OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1).

       A party’s failure to object bars that party from: (1) entitlement to de novo review by a

district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to
   .
factual findings and legal conclusions accepted by the district court, see Douglass v. United Servs.

Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded

by Congress and the courts require that, when a party takes advantage of his right to object to a

magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority

by considering the actual evidence and not merely by reviewing and blindly adopting the

magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                     SIGNED this the 2nd day of August, 2012.




                                                        ____________________________________
                                                        KEITH F. GIBLIN
                                                        UNITED STATES MAGISTRATE JUDGE




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